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       In the United States Court of Federal Claims
                             OFFICE OF SPECIAL MASTERS
                                            No. 14-975V
                                     Filed: February 16, 2016

* * * * * * * * * * * * * * * *                               UNPUBLISHED
MARGARET FERGUSON,            *
                              *                               Special Master Gowen
          Petitioner,         *
                              *                               Joint Stipulation on Damages;
v.                            *                               Hepatitis A; Hepatitis B;
                              *                               Brachial Plexopathy.
SECRETARY OF HEALTH           *
AND HUMAN SERVICES,           *
                              *
          Respondent.         *
                              *
* * * * * * * * * * * * * * * *

Alison H. Haskins, Maglio Christopher & Toale, Sarasota, FL, for petitioner.
Camille M. Collett, United States Department of Justice, Washington, DC, for respondent.

                            DECISION ON JOINT STIPULATION1

         On October 10, 2014, Margaret Ferguson (“petitioner”) filed a petition pursuant to the
National Vaccine Injury Compensation Program.2 42 U.S.C. §§ 300aa-1 to -34 (2012). Petitioner
alleged that as a result of receiving Hepatitis A and Hepatitis B vaccinations on March 12, 2013
and May 14, 2013 respectively, she developed brachial plexopathy. Stipulation for Award at ¶ 2,
4, filed Feb. 8, 2016. Further, petitioner alleged that she experienced residual effects of her injury
for more than six months. Id. at ¶ 4.


1
  Because this decision contains a reasoned explanation for the undersigned’s action in this case,
the undersigned intends to post this ruling on the website of the United States Court of Federal
Claims, in accordance with the E-Government Act of 2002, 44 U.S.C. § 3501 note (2012) (Federal
Management and Promotion of Electronic Government Services). As provided by Vaccine Rule
18(b), each party has 14 days within which to request redaction “of any information furnished by
that party: (1) that is a trade secret or commercial or financial in substance and is privileged or
confidential; or (2) that includes medical files or similar files, the disclosure of which would
constitute a clearly unwarranted invasion of privacy.” Vaccine Rule 18(b).
2
  The National Vaccine Injury Compensation Program is set forth in Part 2 of the National
Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755, codified as amended,
42 U.S.C. §§ 300aa-1 to -34 (2012) (Vaccine Act or the Act). All citations in this decision to
individual sections of the Vaccine Act are to 42 U.S.C.A. § 300aa.


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        On February 8, 2016, the parties filed a stipulation in which they state that a decision should
be entered awarding compensation. Respondent denies that any of the vaccines caused petitioner’s
brachial plexopathy or any other injury or condition. Id. at ¶ 6. Nevertheless, the parties agree to
the joint stipulation, attached hereto as Appendix A. The undersigned finds the stipulation
reasonable and adopts it as the decision of the Court in awarding damages, on the terms set forth
therein.

       The parties stipulate that petitioner shall receive the following compensation:

       A lump sum of $103,750.00, in the form of a check payable to petitioner, Margaret
       Ferguson. This amount represents compensation for all damages that would be
       available under 42 U.S.C. § 300aa-15(a).

       Id. at ¶ 8.

       The undersigned approves the requested amount for petitioner’s compensation.
Accordingly, an award should be made consistent with the stipulation.

         The clerk of the court SHALL ENTER JUDGMENT in accordance with the terms of
the parties’ stipulation.3

       IT IS SO ORDERED.

                                               s/ Thomas L. Gowen
                                               Thomas L. Gowen
                                               Special Master




3
 Pursuant to Vaccine Rule 11(a), entry of judgment is expedited by the parties’ joint filing of
notice renouncing the right to seek review.


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